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                     Exhibit 10
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
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                                        to Further     2 of 3. PageID #: 87889
                                                                            Review

    1               UNITED STATES DISTRICT COURT

    2            FOR THE NORTHERN DISTRICT OF OHIO

    3                       EASTERN DIVISION

    4                             -   -   -

    5    IN RE: NATIONAL PRESCRIPTION

    6    OPIATE LITIGATION                      Case No.

    7                                           1:17-MD-2804

    8    APPLIES TO ALL CASES                   Hon. Dan A.

    9                                           Polster

   10    Case No. 1:17-MD-2804

   11                             -   -   -

   12                       January 17, 2019

   13        HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

   14                   CONFIDENTIALITY REVIEW

   15                   Videotaped deposition of

   16    DOUGLAS BOOTHE, held at 250 Hudson Street,

   17    New York, New York, commencing at 9:00 a.m.,

   18    on the above date, before Marie Foley, a

   19    Registered Merit Reporter, Certified

   20    Realtime Reporter and Notary Public.

   21                             -   -   -

   22                   GOLKOW LITIGATION SERVICES

   23              877.370.3377 ph | 917.591.5672 fax

   24                        Deps@golkow.com

  Golkow Litigation Services                                          Page 1 (1)
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
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                                                                            Review
                                           Page 198                                            Page 200
   1          Do you see that?                         1   invested. That's why we used a contract
   2      A. Yes.                                      2   sales organization. We tried to, again,
   3      Q. And then a little further down            3   slow down the rate at which prescriptions
   4   there's a question from you: What can we        4   were declining. That was our plan.
   5   do to reestablish our script level over         5      Q. The contract sales organization
   6   26,000 per week?                                6   inVentiv?
   7      A. Yes.                                      7      A. Correct.
   8      Q. And that was Kadian scripts?              8      Q. And, do you recall using
   9      A. It's not clear, but I think               9   speakers forums for other opioid products?
  10   that's a yes. But it could be Kadian and,      10          MS. WELCH: Objection to form.
  11   by the way, generic Kadian. I believe in       11      A. We didn't -- I don't think we
  12   the August of 2011 time frame, there was       12   ever -- well, we had plans to potentially
  13   generic Kadian and our authorized generic.     13   do some sort of speaker forum on the
  14   So it's potential or probable it was both      14   Moxduo product, but that never got
  15   combined, both branded Kadian and the          15   approved by the FDA. So the programs
  16   generic Kadian if, at that time, the           16   never went into -- into place. We had
  17   generic Kadian was available.                  17   done prelaunch planning on that. And
  18      Q. Okay. And a little further down          18   those are the only two items, both the
  19   you write: Have we scratched any ideas         19   Kadian brand and the potential Moxduo,
  20   around speakers forums?                        20   which would have been in promotional
  21          Do you see that?                        21   activities of Actavis. Moxduo was never
  22      A. Yes.                                     22   approved, and I don't believe we ever did
  23      Q. And, had you scratched any ideas         23   speaker forums on Kadian.
  24   around speakers forum at that time for the     24          MS. BAIG: Okay. Good time to
                                           Page 199                                            Page 201
   1   promotion of Kadian?                            1     take lunch.
   2      A. I don't know.                             2         MS. WELCH: Okay.
   3      Q. You don't recall learning that?           3         MS. BAIG: How much time would
   4      A. I think that's why I asked the            4     you like?
   5   question had we. I was asking Nathalie,         5         MS. WELCH: 45 minutes.
   6   this is something the team was                  6         MS. BAIG: Sure.
   7   considering. I don't know if they did or        7         THE VIDEOGRAPHER: We're going
   8   didn't or if they were or they weren't.         8     off the record.
   9      Q. Okay. Do you recall whether or            9         The time is 12:29 p.m.
  10   not Actavis used speakers forums to            10         (Luncheon recess taken.)
  11   promote Kadian at any time?                    11                - - -
  12      A. I don't believe we ever did.             12       AFTERNOON SESSION
  13      Q. Okay. Do you recall any                  13                - - -
  14   discussions about that?                        14         THE VIDEOGRAPHER: We're going
  15      A. There may have been discussions          15     back on the record.
  16   I may or may not have been part of. But,       16         The time is 1:17 p.m.
  17   again, at the end of the day, I don't          17         MS. BAIG: So, we'll have this
  18   believe we ever did speakers forums for        18     document marked as the next exhibit,
  19   this product.                                  19     please.
  20           I mean, we had a very finite           20         It's Bates stamped
  21   period of time from when we acquired the       21     ACTAVIS1025294 through '297. It
  22   asset to when we expected the generic          22     starts as an email from Jennifer
  23   market to form. It's about six quarters.       23     Altier to Erin Faucette and Liz Reese
  24   So I -- we never were significantly            24     at an organization named Technekes.
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